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 7                        UNITED STATES DISTRICT COURT
 8                      CENTRAL DISTRICT OF CALIFORNIA
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     DANIEL TORRES, EMSURGCARE, and                 Case No. 2:23-cv-01533-KK-SK
10   EMERGENCY SURGICAL
     ASSISTANT,
11                                                  ORDER GRANTING
                      Plaintiffs,                   DEFENDANT’S APPLICATION
12   v.                                             FOR LEAVE TO FILE UNDER
                                                    SEAL
13   UNITEDHEALTHCARE INSURANCE
     CO., DOES 1-10, inclusive,                     [Defendant’s Application for Leave
14                    Defendants.                   to File Under Seal; Declaration of
                                                    Bryan Westerfeld in Support of
15                                                  Defendant’s Application for Leave
                                                    to File Under Seal; filed
16                                                  concurrently]
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                                                                           2:23-CV-01533-KK-SK
                          ORDER GRANTING APPLICATION FOR LEAVE TO FILE UNDER SEAL
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 1         Pursuant to Local Rule 79-5.2.2, Defendant UnitedHealthcare Insurance
 2   Company (“Defendant”) has applied for leave to file under seal certain portions of
 3   the Administrative Record and Defendant UnitedHealthcare Insurance Company’s
 4   Memorandum of Points and Authorities in Support of Notice of Motion and
 5   Motion for Judgment (the “Brief”). As established in Defendant’s application, the
 6   supporting Declaration of Bryan Westerfeld, and in the documents that are the
 7   subject of Defendant’s application, good cause and compelling reasons exist to
 8   protect these documents from public disclosure.
 9         IT IS HEREBY ORDERED that Defendant’s application for leave to file
10   documents under seal is GRANTED.
11         Defendant shall prepare and file under seal an unredacted version of the
12   portions of the Administrative Record bates labeled for identification as
13   UHIC_0000172-0000277; UHIC_0000280-0000329; UHIC_0000332-0000342;
14   UHIC_0000356-0000424; UHIC_0000428-0000432 and UHIC_0000543-0000558
15   and the Brief.
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     Dated: June 28, 2024
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19                                           By:
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                                                   The Honorable Kenly Kiya Kato
21                                                 United States District Court Judge
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                            ORDER GRANTING APPLICATION FOR LEAVE TO FILE UNDER SEAL
